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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
_______________________________________
                                           )
MARGO SIMMONS, individually and on         )
behalf of all others similarly situated,   )
                                           )
                Plaintiff,                 )
                                           )      Civil Action No.
       v.                                  )      24-12330-BEM
                                           )
AUTHOR REPUTATION PRESS LLC,               )
                                           )
                Defendant.                 )
_______________________________________)

                                MEMORANDUM AND ORDER

MURPHY, J.

       For the reasons stated herein, the Court DENIES Defendant Author Reputation Press

LLC’s request to bifurcate and ADOPTS Plaintiff Margo Simmons’s proposed case schedule.

I.     Introduction

       Plaintiff Margo Simmons alleges that Defendant Author Reputation Press LLC violated

the Telephone Consumer Protection Act of 1991 (“TCPA”) by telemarketing to phone numbers

on the National Do Not Call Registry. Dkt. 1 ¶ 3. Plaintiff makes these allegations individually

and on behalf of a putative class of other individuals similarly situated. Id. ¶¶ 31–38.

       Defendant asks the Court to bifurcate the issues in this case so that it can “address the

viability of Plaintiff’s individual TCPA claim before engaging in costly and time-consuming class

discovery.” Dkt. 15 at 5–6. In its briefing, Defendant identifies a non-exhaustive list of seven

defense-related “issues” to be explored during the first phase of litigation. See id. at 6. Defendant’s

proposed schedule contemplates that this phase will take approximately four months, with motions

for summary judgment and trial to follow on the individual claim. Id. at 9–10.
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II.      Legal Standard

         Federal Rule of Civil Procedure 26 affords district courts “broad discretion” in managing

the timing and sequencing of discovery. Crawford-El v. Britton, 523 U.S. 574, 598 (1998); see

also Local Rule 16.3(a)(3)(B) (providing for courts’ ability to “sequence discovery into two or

more stages”). Likewise, the decision to segregate certain claims for separate disposition under

Federal Rule of Civil Procedure 42 “is a matter peculiarly within the discretion of the trial court.”

Gonzalez-Marin v. Equitable Life Assur. Soc. of U.S., 845 F.2d 1140, 1145 (1st Cir. 1988).1

         Notwithstanding this authority, “[b]ifurcation is ordinarily the exception and not the rule.”

Hewlett-Packard Co. v. Genrad, Inc., 882 F. Supp. 1141, 1158 (D. Mass. 1995); see also Wilson

v. Quest Diagnostics, Inc., 2019 WL 7560932, at *4 (D.N.J. Aug. 22, 2019) (highlighting potential

unfairness and inefficiency of bifurcation).

         Faced with similar requests, “[c]ourts in this district have bifurcated individual merits and

class discovery where doing so served the interests of justice given the allegations and

circumstances of particular cases.” Katz v. Liberty Power Corp., LLC, 2019 WL 957129, at *2

(D. Mass. Feb. 27, 2019) (granting bifurcation in TCPA case); Osidi v. Assurance IQ, LLC, 2022

WL 623733, at *1 (D. Mass. Mar. 3, 2022) (same).




         1
           Defendant frames its proposal as a plan for discovery, Dkt. 15 at 5–6, but that plan also contemplates
separate summary judgment briefings and trials on the individual claims, Dkt. 15 at 9–10, implicating Rule 42. See
Wilson v. Quest Diagnostics, Inc., 2019 WL 7560932, at *2 (D.N.J. Aug. 22, 2019) (framing a similar dispute under
Rule 42); cf. DeRubeis v. Witten Techs., Inc., 244 F.R.D. 676, 678–82 (N.D. Ga. 2007) (ordering pure sequencing of
discovery in a trade secret case). At bottom, both rules place the decision squarely within the discretion of the trial
court. See Crawford-El, 523 U.S. at 598; Gonzalez-Marin, 845 F.2d at 1145. However, courts have expressed
particular concern against “routine[] order[ing]” of separate trials. Abbott Biotechnology Ltd. v. Centocor Ortho
Biotech, Inc., 55 F. Supp. 3d 221, 222 (D. Mass. 2014) (quoting Data Gen. Corp. v. Grumman Sys. Support Corp.,
795 F. Supp. 501, 503 (D. Mass. 1992), aff’d, 36 F.3d 1147 (1st Cir. 1994), abrogated on other grounds by Reed
Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010)); see also Chapman ex rel. Est. of Chapman v. Bernard’s Inc., 167 F.
Supp. 2d 406, 417 (D. Mass. 2001) (placing burden on party seeking bifurcation under Rule 42).



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III.     Discussion

         Defendant has not shown here that bifurcation would “serve[] the interests of justice.”

Katz, 2019 WL 957129, at *2; Osidi, 2022 WL 623733, at *1. Katz and Osidi—two cases wherein

the court granted bifurcation of individual TCPA claims—are both distinguishable. In each of

those cases, the court was presented with a clear, documented deficiency in the plaintiff’s

individual claim.2 See Defendants’ Memorandum in Support of Motion to Bifurcate Individual

and Class Discovery at 5–7, Katz, Civ. No. 18-10506 (demonstrating, with record evidence,

reasonable suspicion that the plaintiff’s phone number would not qualify for TCPA protection);

Local Rule 16.1(d) Joint Statement at 6–7, Osidi, Civ. No. 21-11320 (highlighting “pure legal”

issue of TCPA consent, made salient and relevant by the defendant’s record evidence, requiring

“minimal, if any, additional discovery” before summary judgment).

         Here, by contrast, Defendant has provided the Court no specific basis on which to conclude

that Plaintiff’s individual claims are particularly vulnerable to early defeasance. Rather, Defendant

has merely pointed out that individual claims are subject to individual defenses, but that is true for

all putative class-action plaintiffs.

IV.      Conclusion

         For these reasons, Defendant’s request for bifurcation is DENIED. The Court ADOPTS

Plaintiff’s proposed pretrial schedule. See Dkt. 15 at 7–8.

So Ordered.

                                                           /s/ Brian E. Murphy
                                                           Brian E. Murphy
Dated: March 18, 2025                                      Judge, United States District Court




         2
           The Court does not intend to suggest that a “clear, documented deficiency” is either a necessary or
sufficient condition for bifurcation, only that the circumstances here are unlike those in Katz or Osidi.



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